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           7                              UNITED STATES DISTRICT COURT

           8                             EASTERN DISTRICT OF CALIFORNIA

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          10     DUHN OIL TOOL, INC.,                             Case No. 1:05-cv-01411-OWW-LJO

          11            Plaintiff/Counterclaim-Defendant,         ORDER RESOLVING PLAINTIFF
                                                                  DUHN OIL TOOL, INC.’S OBJECTION
          12            vs.                                       TO AND MOTION TO STRIKE
          13     COOPER CAMERON CORPORATION,                      DEFENDANT’S SUPPLEMENTAL
                                                                  REPLY IN SUPPORT OF ITS MOTION
          14            Defendant/Counterclaim-Plaintiff.         FOR SUMMARY JUDGMENT OF
                                                                  PATENT INVALIDITY
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                                                                  Hon. Oliver W. Wanger
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                        Pending before the Court is Plaintiff Duhn Oil Tool, Inc.’s Objection to and Motion
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          20     to Strike Defendant’s Supplemental Reply in Support of Its Motion for Summary Judgment

          21     of Patent Invalidity (Docket No. 55).      Plaintiff objects to and moves to strike the
          22     Supplemental Reply brief (Docket No. 53) filed by Defendant in support of Defendant’s
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                 Motion for Summary Judgment of Invalidity. Having heard the parties’ arguments on the
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                 Plaintiff’s Objection and Motion to Strike during the telephone Status Conference held on
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                 September 21, 2006, this Court resolves the Objection and Motion to Strike as follows:
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                                                            -1-         ORDER RESOLVING PLAINTIFF’S
                                                                        OBJECTION AND MOTION TO
                                                                        STRIKE
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               Case 1:05-cv-01411-MLH-GSA Document 64 Filed 10/12/06 Page 2 of 2


           1            Plaintiff’s Objection is overruled, and Plaintiff’s Motion to Strike is denied, but
           2     Plaintiff is granted leave to file by September 28, 2006 a Supplemental Reply in response to
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                 the Defendant’s Supplemental Reply (Docket No. 53).
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                 IT IS SO ORDERED.
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                 Dated: _October 10, 2006__                  _/s/ OLIVER W. WANGER_____________
           8                                                 UNITED STATES DISTRICT JUDGE

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                                                            -2-          ORDER RESOLVING PLAINTIFF’S
                                                                         OBJECTION AND MOTION TO
                                                                         STRIKE
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